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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
 ____________________________________
                                     )
MATTHEW VANDERHOOP,                  )
     Plaintiff                       )
                                     )
v.                                   )
                                     )
WILMINGTON SAVINGS FUND              )  Civil Action No. 1:18-CV-11924-FDS
SOCIETY FSB, CHRISTIANA              )
TRUST, NOT IN ITS INDIVIDUAL         )
CAPACITY, BUT SOLELY AS              )
TRUSTEE FOR BCAT 2014-10TT,          )
    Defendant                        )
___________________________________ )

                              MOTION IN OPPOSITION TO
                           DEFENDANT’S MOTION TO DISMISS

       Plaintiff, Mr. Matthew Vanderhoop, hereby submits this Motion in Opposition to

Defendant’s motion to dismiss Mr. Vanderhoop’s Complaint and Motion for Temporary

Restraining Injunction for Protection from an Unlawful Foreclosing Auction of his Home, G.L.c.

244, §35B.

       In support of this Motion, Mr. Vanderhoop states that he has alleged sufficient facts in his

Complaint that have facial plausibility, and that his Complaint alleges legally cognizable injuries,

upon which relief can be granted. Defendant has, therefore, failed to meet its burden, and is not

entitled to a motion to dismiss.

       The attention of the Court is respectfully directed to Mr. Vanderhoop’s Memorandum of

Law in Opposition to Defendant’s Motion in Opposition to Dismiss, filed herewith, and to

arguments to be properly presented in support of the requested relief of this motion.




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       WHEREFORE, Mr. Vanderhoop, respectfully, request that this honorable court enter an

order to:

       1. Deny Defendant’s motion to dismiss Mr. Vanderhoop’s Complaint and Motion for

Temporary Restraining Injunction for Protection from an Unlawful Foreclosing Auction of his

Home, G.L.c. 244, §35B.

       2. Grant Mr. Vanderhoop’s request for a Preliminary Injunction to refrain Defendant

from scheduling or holding a foreclosure auction sale of Mr. Vanderhoop’s home until a trial on

the merits.

       3. Grant Mr. Vanderhoop’s request for a Permanent Injunction to refrain Defendant

from scheduling or holding a foreclosure auction sale of Mr. Vanderhoop’s home until a trial on

the merits.

       4. Grant Mr. Vanderhoop any other such further relief as is just and equitable.

October 30, 2018                                   Respectfully submitted,
                                                   MATTHEW VANDERHOP
                                                   By his attorney,


                                                   “/s/”Deborrah M. Doman
                                                   Deborrah M. Dorman, Esq., #635729
                                                   Law Office of Deborrah M. Dorman
                                                   Post Office Box 944
                                                   Tisbury, MA 02568
                                                   (774) 563-0040
                                                   dormandmd@aol.com




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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
 ____________________________________
                                     )
MATTHEW VANDERHOOP,                  )
     Plaintiff                       )
                                     )
v.                                   )
                                     )
WILMINGTON SAVINGS FUND              )  Civil Action No. 1:18-CV-11924-FDS
SOCIETY FSB, CHRISTIANA              )
TRUST, NOT IN ITS INDIVIDUAL         )
CAPACITY, BUT SOLELY AS              )
TRUSTEE FOR BCAT 2014-10TT,          )
    Defendant                        )
___________________________________ )

                                 CERTIFICATE OF SERVICE

       I, Deborrah M. Dorman, certify that Plaintiff’s Motion in Opposition to Defendant’s

Motion to Dismiss was filed today, October 30, 2018, through the ECF system to be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

October 30, 2018                              Respectfully submitted,



                                              “/s/”
                                              Deborrah M. Dorman




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